  Case 17-37321       Doc 74   Filed 02/04/22 Entered 02/07/22 08:49:28               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                 BK No.:   17-37321
                                             )
RODERICK MAURICE YOUNG,                      )                 Chapter: 13
                                             )
                                                            Honorable Janet S. Baer
                                             )
                                             )                 Kane
               Debtor(s)                     )

                                        ORDER MODIFYING PLAN

       This matter coming to be heard on the Debtor's Motion to Modify Plan, the Court being fully
advised in the premises, and due notice having been given to all parties entitled thereto,

  IT IS HEREBY ORDERED THAT:

  1. The current default is deferred;

  2. The term of Debtor's plan is extended to 84 months; and

  3. The Debtor shall pay the trustee $800.00 monthly for the remaining plan term.




                                                        Enter:


                                                                   Honorable Janet S. Baer
Dated: February 04, 2022                                           United States Bankruptcy Judge

 Prepared by:
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